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The Honorable Lewis A. Kaplan ' ee
United States District Judge ELECTRONICALLY FILED
Daniel Patrick Moynihan United States Courthouse 1} DOC #:

500 Pearl Street DATE FILED: bf) ) S23 A

 

New York, NY 10007-1312 :
Re: Chevron Corp. v. Donziger, et al., Case No. 11 Civ. 0691 (LAK)

Dear Judge Kaplan:

I respectfully write as counsel for Plaintiff Chevron Corporation (“Chevron”) regarding the
ongoing discovery in this matter that Your Honor has authorized under Federal Rule of Civil
Procedure 70 and under the Court’s inherent authority in contempt proceedings.'

 

As Chevron has previously informed the Court, it is currently attempting to undertake post-
judgment discovery from various third parties, including parties that facilitated and partici-
pated in Donziger’s attempted fundraising from Efliott. Dkt. 1987 at 10 n.4. Chevron seeks
this discovery by subpoena in furtherance of its pending contempt application against
Donziger, as well as in furtherance of its money judgment, Despite Chevron’s repeated at-
tempts to meet-and-confer in good faith, several of those third parties—in particular Katie
Sullivan, Jonathan Bush, and Joshua Rizack—have stonewalled us, responding, in nearly
identical terms, with blanket refusals to comply with any aspect of Chevron’s subpoenas.

An excuse these third parties have used is that the scope of contempt discovery Your Honor
has permitted applies by order only to Donziger, making no reference to them. While that is
nonsensical and a transparent discovery dodge, it is the place where we find ourselves: like
deja vu all over again Donziger and his cronies are trying to evade discovery and hide the
bail. Therefore, Chevron respectfully requests that the Court confirm that the scope of dis-
covery under both Rule 70 and the pending contempt proceedings encompasses discovery

 

1 See Dkt. 2006 at 14 (“This Court plainly has ‘ample authority to issue [discovery] orders necessary
for the enforcement of its order. Discovery may occur in connection with a pending contempt pro-
ceeding[.}’ In alf of the circumstances, Chevron’s application, insofar as it seeks leave to conduct dis-
covery with respect to Donziger’s compliance with the Judgment is granted.”) (quoting Staie of New
York v. Shore Realty Corp., 763 F.2d 49, 53 (2d Cir. 1985) and citing 28 U.S.C, § 1651) (alteration in
original); see also Dict. 2020 (granting, in part, Chevron’s sought “Paragraph 5 Compliance Discov-
ery” as it relates to Donziger’s solicitation of funds from Elliott Management Company and its affili-
ates).

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Memorandum Endorsement Chevron v. Donziger, 1i-cv-0691 (LAK)

Granted.
The order applies to discovery against non-patty witnesses.
SO ORDERED.

Dated: June 11, 2018

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“Lewis A. Kaplan
United States District Judge
